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April 9, 2024

Jack B. Blumenfeld

Morris, Nichols, Arsht & Tunnell LLP
1201 North Market Street

P.O. Box 1347

Wilmington, DE 19899

RE: Siemens Mobility, Inc. v. Westinghouse Air Brake Technologies Corporation et al
1:16-cv-0284-LPS

Dear Counsel:

I am returning to you Plaintiff's Trial Exhibits consisting of two boxes. Please
acknowledge receipt of said exhibits on the copy of this letter.

Sincerely,

By:
Deputy Clerk

I hereby acknowledge receipt of the above exhibits on APR 09 2024

Signature

[ANAT

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